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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


  TREY GREENE, individually and on              Case No. 2:23-cv-01165-KM-LDW
  behalf of all others similarly situated,

                        Plaintiff,
                                                CERTIFICATE OF SERVICE
                  v.

 ZAC PRINCE, FLORI MARQUEZ,
 TONY LAURA, JENNIFER HILL and
 GEMINI TRADING, LLC,

                        Defendants.


           I hereby certifY that on May   f(   ,2023 a copy of the foregoing was served

upon all counsel via the Court's ECF system.




{00549833 ; 1 }
